
Albaugh, J.
The decision of the question raised by the demurrer to the second defense in the answer of the defendant, disposes of the other assignments of error in this case, for the reason that they all relate to that defense.
The claim here made for damages is based upon the failure of the plaintiffs to furnish a saw for said mill that corresponded with the terms of the warranty given at the time of the purchase, and that by the breach of the contract of warranty, the defendant was deprived of the profits he would have realized in sawing the lot of logs which he says he had contracted with certain parties to do.
It is claimed on behalf of the plaintiffs that the claim is in the nature of special ór consequential damages, of such remote and uncertain character that no rule could be-established with certainty to authorize a recovery ; that if there was a breach of contract in this respect, that it was not the proximate cause of the damages claimed.
The question presented is: can the defendant recover more than the damages arising directly from such breach, such as would make him whole, and give him as good machinery as he contracted for, or its equivalent, or has he a right to go further and recover for such damages as he claims to have sustained by reason of contracts made with other parties, for *262whom he agreed to do sawing and which he was prevented from doing by. reason of the breach of contract on the part of the plan tiffs?
There is no claim that'the sale of this mill was made with reference to any particular contract which the defendant had made with others for sawing, or that the plaintiffs knew that any such contract had been made or would be made, or that the mill was sold to do any particular job of work. It was a general sale for a specific price, with warranty that the saws should be of a certain kind and quality.
The injury complained of is the loss of profits which the defendant expected to realize from his contract to saw this lot of logs. “It is not a primary rule, but is a mere deduction from that more general and fundamental rule, which requires that the damages claimed should in all cases be shown by satisfactory evidence to’ have been actually sustained ; and it is a well established rule that the damages to be recovered from a breach of contract must be shown with certainty, and not left to mere speculation or conjecture. And it is under this rule that profits are excluded from the estimate of damages in such cases. An allowance of damages upon the basis of the calculation' of profits would be in the highest degree unfavorble to the interests of the community. The calculation would proceed upon contingencies and conjectures, and not upon facts.” Ex parte Schooner Lively, 11 Gall., 315.
In Blanchard v. Ely, 21 Wend., 342, the court say: In general the parties are deemed to have contemplated only the damages and injury which result from the non-performance of the obligation in respect to the particular thing which is the object of it, and not such as may have been accidentally occasioned thereby in respect to his own other affairs. This rule applies to cases when by reason of special circumstances, having no necessary connection with the contract broken, damages are sustained which would not ordinarily or naturally flow from such breach; as where a party is prevented by the breach of one contract from availing himself of some other collateral and independent contract entered into with other parties, or from performing some act in relation to his own *263business not necessarily connected with the agreement; in such cases the damages sustained are disallowed, not alone because they are uncertain, nor because they are merely consequential or remote, but because they cannot be fairly considered as .having been within the contemplation of the parties at the time of entering into the contract.”
Also in the case of Griffin v. Colan, 16 N. Y., it was held that the damages must be such as may fairly be supposed to have entered into the contemplation of the parties when they made the contract; that is must be such as might naturally be expected to follow its violation; and they must be certain, both in their nature in respect to the cause from which they proceed, and they must be not the remote, but the proximate consequence of such breach, and must not be speculative or contingent.
In Rhodes v. Baird, 16 O. S., 573, an action was brought' on a contract by which the defendant agreed to make a lease for a term of years to the plaintiff of certain lands, on which to plant and cultivate a peach orchard. The breach consisted in the failure of defendant to make the lease, and in his causing the plaintiff within two years from his taking possession • to be evicted from the premises; — but after the peach trees were planted. On the trial, the plaintiff'was permitted to give evidence of the probable profits that night in the future be realized from the orchard. It was held that the evidence as to probable future profits was incompetent as furnishing a basis for the assessment of damages, such evidence being uncertain and speculative in its nature, and in a great degree conjectural.
In Masterton v. Mayor of Brooklyn, 7 Hill, 61, it is said: When the books and cases speak of the profits anticipated from a good bargain as matters too remote and uncertain to be taken into the account in ascertaining the measure of damages, they usually have relation to dependent and collateral engagements entered into on the faith and in expectation of the performance of the principal contract. The performance or nonperformance of the latter may, and often doubtless does exert a material influence-upon the collateral enterprises of the party, and the same may be said as to his general affairs and *264business transactions; but this influence is altogether too remote and subtle to be reached by legal proof or judicial investigation. But profits or advantages which are the direct and immediate fruits of the contract entered into between the parties, stand upon a different footing. These are part and parcel of the contract itself, entering into and constituting a portion of its very elements, something stipulated for, the right to the enjoyment of which is just as clear and plain as the fulfillment of any other stipulation. They are presumed to have been taken into cousideration and deliberated upon at the time the contract was made,, and formed perhaps the only inducement to the arrangement.”
In Fleming v. Beck, 48 Penn. St., 309, it was also said that “ a very small part of the machinery of a mill or factory may be so essential to its running, that the want of it will stop operating until this part be amended or replaced, causing a large loss by suspension ; but who has ever supposed that the mill-right or mechanic, who undertakes to repair or replace it and whose compensation may be only a few dollars, by his implied contract to do his work in a workmanlike manner to be held liable for the losses of the mill being idle ? But few men could be found to do work at a risk so great for a compensation so inadequate; but when by the terms of a special contract, or the facts brought in view at the time, the attention of the party is called to the fact that the risk is to be his, and he enters into the contract with this consequence in his mind, he may be held to another measure of compensation.”
By the terms of this contract the plaintiffs were bound to furnish the saw mill in complete running order with saws, corresponding to the terms contained in the warranty, and in case they failed in this, they would be liable only for the direct consequences of their omission to do so, and not for damages arising from the collateral engagements of the defendant with other parties, in which the plaintiffs could in no way participate. The contract can not be interpreted so that it may be inferred that the damages of this kind were within the- contemplation of the parties when it was executed. The law does not hold one liable for all the consequences that may follow the breach of his contract; if it were so, his liability *265would be without limit, for it would continue as far as the consequences of his act could be traced. But the law wisely limits liability to the direct and immediate effects of the breach of a contract. The damages claimed in this defense are not of,that character. They resulted remotely from the fact that the, plaintiffs failed to furnish the mill according to the contract, and are not the natural and proximate consequence of the breach of the contract.
J. W. and George B. Smith, for plaintiffs.
Campbell and Grosscup, for defendant.
We are of the opinion that the demurrer should have been sustained. The judgment is, therefore, reversed.
